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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 UNITED STATES OF AMERICA               )
                                        )
             vs.                        )    Case No. 3:12-CR-109(1) RLM
                                        )
 KORI ANN DONOVAN                       )

                                     ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on April 12, 2013 [Doc. No. 26].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Kori Donovan’s plea of guilty, and FINDS the defendant guilty

 of Counts 1 and 3 of the Indictment, in violation of 18 U.S.C. § 1347 and 2, and

 18 U.S.C. § 1028A.

       SO ORDERED.

       ENTERED:       May 2, 2013



                                         /s/ Robert L. Miller, Jr.
                                     Judge
                                     United States District Court
